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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

DR. STEVEN ARKIN, a Florida resident,             )
individually and as the representative of a       )
class of similarly-situated persons,              )
                                                  )
                               Plaintiff,         )   Civil Action No.: 8:16-cv-00323-EAK-JSS
                                                  )
               v.                                 )   CLASS ACTION
                                                  )
HORMONE THERAPY CENTERS OF                        )
AMERICA LLC and JOHN DOES 1-10,                   )
                                                  )
                         Defendants.              )

                                  NOTICE OF SETTLEMENT

       Plaintiff DR. STEVEN ARKIN hereby gives written notice pursuant to Local Rule 3.08 to

the Court that the parties have reached a settlement in this case that will resolve all of the issues

raised in this dispute and dispose of this entire action. The parties are in the process of finalizing the

settlement agreement and other documentation required to effectuate the settlement. The parties

anticipate filing a Stipulation of Dismissal with Prejudice once the settlement has been finalized,

within the next thirty days.

                                               Respectfully submitted,

                                               DR. STEVEN ARKIN, individually and as the
                                               representative of a class of similarly-situated persons

                                               s/ Ryan M. Kelly
                                               Ryan M. Kelly – FL Bar No.: 90110
                                               Ross M. Good
                                               ANDERSON + WANCA
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2016, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filings to all
counsel of record.



                                                    /s/     Ryan M. Kelly
